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STATE OF MICHIGAN
IN THE FEDERAL DISTRICT COURT FOR
THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
JAMES STEWART AS NEXT )
FRIEND OF MORRAH STEWART, )
Plaintiff, ) CASE NO. 21:

) HON.:

) MAG:
-VS.- )
)
MANCHESTER COMMUNITY )
SCHOOLS, MANCHESTER JUNIOR _ )
SENIOR HIGH )
SCHOOL, MANCHESTER )
COMMUNITY SCHOOLS )
BOARD OF EDUCATION, )
DR. BRADLEY )
BEZEAU in his Individual )
capacity and in his official capacity as )
Superintendent of MANCHESTER )
COMMUNITY SCHOOLS )
DISTRICT, AND DOES 1 through )
100, )
Defendants. )

 

MUSSIN & SCANLAND, PLLC
SCOTT P. MUSSIN (P66748)

By: JERARD M. SCANLAND (P74992)
Attorneys for Plaintiff

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PETITION FOR APPOINTMENT OF
NEXT FRIEND TO THIS HONORABLE COURT

TO THE CLERK OF THIS HONORABLE COURT:

Your Petitioner, JAMES STEWART, Father of MS, by and through
Plaintiff's attorneys, MUSSIN & SCANLAND, PLLC, respectfully represents unto
this Honorable Court:

1. That MS is under the age of eighteen (18) years, to-wit, 17 years old.

2. That heretofore, to-wit, on or about March 1, 2020, MS sustained injures as
a result of the Defendants’ actions, for which Defendants are responsible for
damages to MS.

3. That JAMES STEWART has been advised by counsel that his daughter,
MS, has a right of action and is entitled to maintain a suit thereon for damages against
the Defendants herein.

4. That he is the father of MS and that MS, being a minor under the age of
eighteen (18) years, is incapable of petitioning this Court on her own behalf and for

whom no general guardian has been appointed.
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WHEREFORE, your Petitioner prays that he may be appointed as Next of
Friend for MS for the purpose of appearing in said action as her Next Friend and

becoming security for costs.

/s/ James Stewart

 

JAMES STEWART

STATE OF MICHIGAN

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Ww
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COUNTY OF WAYNE
James Stewart , being duly sworn, deposes and says that he has read the foregoing
petition and knows the contents thereof and that the same is true of his own
knowledge except as to those matters therein stated to be on information and belief

and as to those matters, believe them to be true.

/s/ James Stewart

 

JAMES STEWART
Dated: October 11, 2021 Respectfully submitted,
MUSSIN & SCANLAND, PLLC,

BY: /s/ Jerard M. Scanland
JERARD M. SCANLAND (P74992)
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ORDER FOR APPOINTMENT OF NEXT FRIEND

At a session of said court held in the City of Detroit, Wayne
County, State of Michigan on ;

Present Hon:
District Court Judge

 

 

On reading and filing of the Petition of JAMES STEWART, father of minor
daughter, MS, by and through counsel Mussin & Scanland, PLLC, for his
appointment as Next of Friend, in the within lawsuit, as Next of Friend to Minor MS,
against the Defendants’ herein, the Court being fully appraised therein;

IT IS HEREBY ORBERED that JAMES STEWART, as mother of minor
daughter, MS, be and is hereby appointed Next Friend of Minor daughter, MS, in
and about their cause of action and the maintenance of her suit thereon against the

Defendants herein.

Dated:

 

District Court Judge
